       Case 1:16-cv-00318-JB-SCY Document 212 Filed 10/22/18 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

DENNIS P. RIVERO, M.D.,

                      Plaintiff,
vs.                                                            CIVIL NO. 16-cv-00318 JB\SCY

BOARD OF REGENTS OF THE UNIVERSITY OF NEW MEXICO
d/b/a UNIVERSITY OF NEW MEXICO HEALTH SCIENCES CENTER,

                      Defendant.

                                    NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Dennis P. Rivero, M.D. as a party in the above-named

case hereby appeals to the United States Court of Appeals for the Tenth Circuit from the Order of

Judge James O. Browning [Doc. 211], entered on September 24, 2018, (i) granting the Defendant

University of New Mexico Board of Regents’ Motion and Memorandum for Summary Judgment

[Doc. 139, filed Dec. 5, 2017]; (ii) granting the Defendant University of New Mexico Board of

Regents’ Amended Motion and Memorandum for Summary Judgment [Doc. 143, filed December

8, 2017]; (iii) denying the Plaintiff’s Motion for Summary Judgment and Memorandum of Law as

to Certain of Defendant Board of Regents of the University of New Mexico’s Affirmative

Defenses [Doc. 144, filed Dec. 8, 2017]; (iv) denying the Plaintiff’s Motion in Limine to Exclude

Complaints Against Plaintiff Prior to 2006 [Doc. 145, filed Dec. 8, 2017]; (v) denying the

Plaintiff’s Motion in Limine to Prohibit and Exclude Use of the Term “Psychological” in

Reference to “Psychiatric” Evaluations [Doc. 146, filed Dec. 8, 2017]; and (vi) denying the

Plaintiff’s Motion to Recuse the Honorable James O. Browning [Doc. 203, filed July 17, 2018].
       Case 1:16-cv-00318-JB-SCY Document 212 Filed 10/22/18 Page 2 of 2




                                                      Respectfully submitted,

                                                      ERIC D. NORVELL, ATTORNEY, P.A.

                                                       /s/ Eric D. Norvell
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                                                      Attorney for Plaintiff Dennis P. Rivero,
                                                      M.D.


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 22, 2018, I caused the foregoing Notice of Appeal
to be served via the Court’s electronic CM/ECF filing system to all parties entitled to receive notice
and service in this case, including:

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       the University of New Mexico


 /s/ Eric D. Norvell
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